       NOTE: This order is nonprecedential.


 United States Court of Appeals
     for the Federal Circuit
               ______________________

 V.O.S. SELECTIONS, INC., PLASTIC SERVICES
  AND PRODUCTS, LLC, DBA GENOVA PIPE,
    MICROKITS, LLC, FISHUSA INC., TERRY
          PRECISION CYCLING LLC,
              Plaintiffs-Appellees

                               v.

DONALD J. TRUMP, IN HIS OFFICIAL CAPACITY
    AS PRESIDENT OF THE UNITED STATES,
    EXECUTIVE OFFICE OF THE PRESIDENT,
   UNITED STATES, PETE R. FLORES, ACTING
COMMISSIONER FOR UNITED STATES CUSTOMS
 AND BORDER PROTECTION, IN HIS OFFICIAL
 CAPACITY AS ACTING COMMISSIONER OF THE
    UNITED STATES CUSTOMS AND BORDER
    PROTECTION, JAMIESON GREER, IN HIS
OFFICIAL CAPACITY AS UNITED STATES TRADE
  REPRESENTATIVE, OFFICE OF THE UNITED
  STATES TRADE REPRESENTATIVE, HOWARD
    LUTNICK, IN HIS OFFICIAL CAPACITY AS
 SECRETARY OF COMMERCE, UNITED STATES
     CUSTOMS AND BORDER PROTECTION,
              Defendants-Appellants

        -------------------------------------------------

STATE OF OREGON, STATE OF ARIZONA, STATE
   OF COLORADO, STATE OF CONNECTICUT,
  STATE OF DELAWARE, STATE OF ILLINOIS,
2                          V.O.S. SELECTIONS, INC. v. TRUMP




STATE OF MAINE, STATE OF MINNESOTA, STATE
OF NEVADA, STATE OF NEW MEXICO, STATE OF
      NEW YORK, STATE OF VERMONT,
             Plaintiffs-Appellees

                           v.

PRESIDENT DONALD J. TRUMP, UNITED STATES
    DEPARTMENT OF HOMELAND SECURITY,
   KRISTI NOEM, SECRETARY OF HOMELAND
   SECURITY, IN HER OFFICIAL CAPACITY AS
     SECRETARY OF THE DEPARTMENT OF
    HOMELAND SECURITY, UNITED STATES
 CUSTOMS AND BORDER PROTECTION, PETE R.
FLORES, ACTING COMMISSIONER FOR UNITED
 STATES CUSTOMS AND BORDER PROTECTION,
     IN HIS OFFICIAL CAPACITY AS ACTING
    COMMISSIONER FOR U.S. CUSTOMS AND
    BORDER PROTECTION, UNITED STATES,
               Defendants-Appellants
              ______________________

                 2025-1812, 2025-1813
                ______________________

   Appeals from the United States Court of International
Trade in Nos. 1:25-cv-00066-GSK-TMR-JAR, 1:25-cv-
00077-GSK-TMR-JAR, Senior Judge Jane A. Restani,
Judge Gary S. Katzmann, Judge Timothy M. Reif.
                ______________________

                    ON MOTION
                ______________________
V.O.S. SELECTIONS, INC. v. TRUMP                          3



Before MOORE, Chief Judge, LOURIE, DYK, PROST, REYNA,
  TARANTO, CHEN, HUGHES, STOLL, CUNNINGHAM, and
               STARK, Circuit Judges. 1
PER CURIAM.
                           ORDER
    We are adopting the parties’ jointly proposed briefing
schedule. Here are the due dates, which reflect the date
the court must receive the material:
   •    Opening Brief:
           o June 24, 2025 (electronic)
           o June 26, 2025 (paper)
   •    Response Briefs:
           o July 8, 2025 (electronic)
           o July 10, 2025 (paper)
   •    Reply Brief:
           o July 18, 2025 (electronic)
           o July 21, 2025 (paper)
    The V.O.S. and Oregon appellees may file separate re-
sponse briefs. The parties’ briefs must comply with Fed.
Cir. R. 32(b)(1); see Microsoft Corp. v. DataTern, Inc., 755
F.3d 899, 910 (Fed. Cir. 2014) (“It would be fundamentally
unfair to allow a party to use incorporation to exceed word
count.”).
    Any briefs of amicus curiae may be filed without con-
sent and leave of the court. All amicus briefs must be filed
on the same day as the principal brief of the party the




    1    Circuit Judge Newman did not participate.
4                            V.O.S. SELECTIONS, INC. v. TRUMP




amicus brief supports (tracking the same electronic and pa-
per dates). Amicus briefs must comply with Fed. Cir. R.
29(b).
     To the extent possible, the parties should agree on pag-
ination for the appendix before briefing and each electronic
filing should be accompanied by an electronic version of the
cited appendix material. An electronic and paper version
of the full appendix must be received by the court no later
than July 23, 2025.
    Oral argument will be held on July 31 at 10:00 a.m. in
Courtroom 201. Each side will receive 45 minutes (includ-
ing rebuttal). Counsel for the multiple parties on each side
should confer and agree on the apportionment of argument
time.


                                              FOR THE COURT




June 13, 2025
   Date
